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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                               )
 STELLAR IT SOLUTIONS, INC., et al.            )
                                               )
                 Plaintiffs,                   )
                                               )
 v.                                            )       Civil Action No. 1:18-cv-2015 (RC)
                                               )
 U.S. CITIZENSHIP                              )
 AND IMMIGRATION SERVICES,                     )
                                               )
                 Defendant.                    )
                                               )

                                     JOINT STATUS REPORT

          Pursuant to this Court’s minute order of June 4, 2019, Plaintiffs and Defendant (“the

Parties”) hereby provide this Joint Status Report regarding how they believe this lawsuit should

proceed in light of U.S. Citizenship and Immigration Services’ (“USCIS”) Administrative

Appeals Office’s (“AAO”) recent disposition of Plaintiff Stellar IT’s administrative appeal. After

having discussed the issues and the case via electronic mail, counsel for the Parties agree that

this is an APA case that only requires record review and should be resolved through cross-

motions for summary judgment. See, e.g., Chapa v. U.S. Dep’t of Interior, 667 F. Supp. 2d 111,

114 (D.D.C. 2009) (“Judicial review of agency action under the APA is generally confined to the

administrative record.” (citing 5 U.S.C. § 706)).

          To that end, the Plaintiffs require time (30 days from the date of filing this report) to

prepare and file an amended complaint incorporating the AAO’s denial of Plaintiff Stellar IT

Solutions, Inc.’s Form I-129 petition for Plaintiff Kartik Krishnamurthy to work as a “Senior

Project     Manager    Information   Technology”     H-1B    nonimmigrant    worker.   Defendants

correspondingly require time (approximately 60 days from the date of filing this report) to
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prepare and certify the administrative record in this case. The Parties therefore propose the

following briefing schedule for summary judgment motions:

   Plaintiffs File An Amended Complaint:                                          July 18, 2019

   Service of Administrative Record on Plaintiffs and Anticipated Answer: August 19, 2019

   Plaintiffs’ Motion for Summary Judgment:                                  September 18, 2019

   Defendants’ Opposition and Cross-Motion for Summary Judgment:               October 18, 2019

   Plaintiffs’ Opposition and Reply:                                          November 1, 2019

   Defendants’ Reply:                                                        November 15, 2019



In accordance with this proposed schedule and the local rules, the Parties request that they

provide the Court with a Joint Appendix of the relevant portions of the administrative record so

that the Court can determine, as a matter of law, whether AAO’s denial of Plaintiff Stellar IT’s

H-1B petition was reasonable and in accordance with the governing statute and regulations.

                                                   Respectfully submitted,

/s/ Michael E. Piston                              JOSEPH H. HUNT
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                                                   United States Department of Justice
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                                                   Office of Immigration Litigation
                                                   District Court Section

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 18, 2019, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system, which will provide electronic notice and an electronic

link to this document to all attorneys of record.


DATED: June 18, 2019

                                  By: /s/ Joshua S. Press
                                      JOSHUA S. PRESS
                                      Trial Attorney
                                      United States Department of Justice
                                      Civil Division




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